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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND ?| JUL 28 PH 315

CLERK'S OFFICE

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UNITED STATES OF AMERICA : AT ALTIMGRE
Vv. * CRIMINAL NO. DEPUTY
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MUHAMMAD WRIGHT, * (Unlawful Possession of Machineguns
* 18 U.S.C, 922 (0); Possession of
Defendant * Unregistered Firearms, 26 U.S.C. §
* 5861(d); Forfeiture, 18 U.S.C. § 924(d),
* 28 U.S.C, § 2461(c), and 26 U.S.C.
* § 5872)
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INDICTMENT
COUNT ONE

(Possession of a Machinegun)
The Grand Jury for the District of Maryland further charges that:
On or about December 27, 2020, in the District of Maryland, the Defendant,
MUHAMMAD WRIGHT,

knowingly possessed a machinegun as defined in 26 U.S.C. § 5845(a), that is, a Glock, model 27,
40 caliber pistol bearing serial number YKE213 and containing a machinegun-conversion device,
designed and intended to shoot automatically more than one shot, without manually reloading, by
a single function of the trigger, in violation of Title 18, United States Code, Section 922(0).

18 U.S.C. § 922(0)
26 U.S.C. § 5845(a) \
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COUNT TWO
(Possession of an Unregistered Firearm)

The Grand Jury for the District of Maryland further charges that:
On or about December 27, 2020, in the District of Maryland, the Defendant,
MUHAMMAD WRIGHT,

unlawfully and knowingly possessed a firearm as defined in 26 U.S.C. § 5845(a), that is, an
Izhmash, model Saiga-12, 12-gauge shotgun, bearing serial number H07423626, having a barrel
of less than 18 inches in length, and was not registered to him in the National Firearms Registration -
and Transfer Record, in violation of Title 26, United States Code, Sections 5841, 5845(a), 5861(d),
and 5871,
26 U.S.C. § 5841
26 U.S.C. § 5845(a)

26 U.S.C. § 5861(d)
26 U.S.C. § 5871
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COUNT THREE
(Possession of an Unregistered Firearm)

The Grand Jury for the District of Maryland further charges that:
On or about December 28, 2020, in the District of Maryland, the Defendant,
MUHAMMAD WRIGHT,

unlawfully and knowingly possessed a firearm as defined in 26 USC. § 5845(a), that is, a Ruger,
model 10/22, .22 LR caliber rifle, bearing serial number 12788708, having a barrel of less than 16
inches in length, and was not registered to him in the National Firearms Registration and Transfer
Record, in violation of Title 26, United States Code, Sections 5841, 5845(a), 5861(d), and 5871.
26 U.S.C. § 5841 |
26 U.S.C. § 5845(a)

26 U.S.C. § 5861(d)
26 U.S.C. § 5871
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FORFEITURE

The Grand Jury for the District of Maryland further finds that:

od. All allegations set forth in Counts One through Three are hereby incorporated by
reference.
2. Pursuant to Fed. R. Crim. P. 32.2, notice is hereby given to the Defendant that the

United States will seek forfeiture as part of any sentence in accordance with 28 U.S.C. § 2461(c)
and the other statutes cited herein, in the event of the Defendant’s convictions.

Firearms and Ammunition Forfeiture

3. Pursuant to 18 U.S.C. § 924(d) and 26 U.S.C. § 5872, upon conviction of the
offenses alleged in Counts One through Three of this Indictment, the Defendant convicted of such
offense(s) shall forfeit to the United States any firearms and ammunition involved in those

offenses.

Property Subject to Forfeiture

5. The property to be forfeited includes, but is not limited to, the following:

a. aGlock, model 27, .40 caliber pistol, bearing serial number YKE213 containing

a machinegun-conversion device;
b. an Izhmash, model Saiga-12, 12-gauge shotgun, bearing serial number

H07423626; and

c. a Ruger, model 10/22, .22LR caliber’ semi-automatic rifle, bearing serial
number 12788708.

18 U.S.C. § 924(d)

28 U.S.C. § 2461(c)
26 U.S.C. §5872
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Acting United States ttomey

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